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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


SAVANNAH LICENSING, LLC,

            Plaintiff,
                                     Case No. 3:22-cv-00226
     v.

NUU MOBILE CORPORATION,              JURY TRIAL DEMANDED

            Defendant.



                     NUU MOBILE CORPORATION’S
          PARTIAL MOTION TO DISMISS PURSUANT TO RULE 12(B)(6)
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         Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant Nuu Mobile Corporation (“Nuu”)

respectfully moves to dismiss Plaintiff Savannah Licensing, LLC’s (“Plaintiff”) direct and indirect

infringement claims, as stated in the Original Complaint for Patent Infringement (D.I. 1, dated

January 31, 2022). Specifically, Plaintiff has failed to plead any factual support for the direct

infringement assertions of Claims 2-29 of the ‘992 Patent and of Claims 2-10 of the ‘777 Patent.

Plaintiff has also failed to plead sufficient factual allegations with respect to the knowledge and

intent requirements for induced infringement. Plaintiff’s post-suit inducement allegations are

simply restatements of generic legal standards based solely on knowledge allegedly obtained from

the Complaint and contain no specific factual allegations evidencing Nuu’s intent to induce

infringement. Similarly, Plaintiff has failed to plead sufficient factual allegations with respect to

the knowledge, intent, and no substantial noninfringing uses requirements for contributory

infringement. Given these deficiencies, the Court must dismiss Plaintiff’s direct and indirect

infringement claims.1

I.       STATEMENT OF FACTS

         On January 31, 2022, Plaintiff filed its Original Complaint against Nuu alleging direct,

induced, and contributory infringement of U.S. Patent Nos. 8,680,992 (“the ‘992 Patent) and

9,454,777 (“the ‘777 Patent”) (collectively, the “Patents-in-Suit”). D.I. 1. Plaintiff has attempted

to cast a wide net and asserted all 29 claims of the ‘992 Patent and all 10 claims of ‘777 Patent. Id.

at ¶¶ 8, 16. However, nowhere in the Complaint has Plaintiff pled any factual support for

infringement of claims 2-29 of the ‘992 Patent and 2-10 of the ‘777 Patent. The only attempt to

provide any alleged factual support was in the form of charts regarding Claim 1 of the respective


1
 Plaintiff’s direct infringement assertions of Claim 1 of the ‘992 Patent and Claim 1 of the ‘777 Patent are not
subject to this 12(b)(6) Motion.

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Patents-in-Suit, wherein Plaintiff identified the Nuu Mobile X6 as the Accused Product. D.I. 1-

1,1-2.

         Plaintiff’s basis for alleging that Nuu had or has knowledge of the Patents-in-Suit or

knowledge of any purported infringement was “from at least the filing date of the lawsuit.” D.I. 1

¶¶ 11, 12, 18, 19. Plaintiff has not alleged pre-suit knowledge of the Patents-in-Suit. Plaintiff’s

inducement and contributory infringement claims are merely formulaic recitations of legal

standards and legal conclusions that offer no factual support. Id.

II.      LEGAL STANDARD

          Rule 8(a) of the Federal Rules of Civil Procedure, which governs pleadings in patent

infringement cases, provides that a claim must contain "a short and plain statement of the claim

showing that the pleader is entitled to relief." When considering a motion to dismiss for failure to

state a claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a court must assume that

all well-pleaded facts are true and view those facts in the light most favorable to the plaintiff.

Bowlby v. City of Aberdeen, 681 F.3d 215, 218 (5th Cir. 2012). The court may consider "the

complaint, any documents attached to the complaint, and any documents attached to the motion to

dismiss that are central to the claim and referenced by the complaint." Lone Star Fund V (U.S.)

L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010). The court must then decide whether

those facts state a claim for relief that is plausible on its face. Bowlby, 681 F.3d at 217. "A claim

has facial plausibility when the pleaded factual content allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." Id. (quoting Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009)). As the Supreme Court noted, the plausibility requirement is not akin

to a "probability requirement at the pleading stage; it simply calls for enough fact[s] to raise a




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reasonable expectation that discovery will reveal" that the defendant is liable for the alleged

misconduct. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).

       Accordingly, Plaintiff's Original Complaint must plead “enough factual matter” that, when

taken as true, "state[s] a claim to relief that is plausible on its face." Twombly, 550 U.S. at 570.

This plausibility standard is met when "the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged." Iqbal, 556

U.S. at 678. Although the Court "accepts all well-pleaded facts as true" and "view[s] them in the

light most favorable to the plaintiff," In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th

Cir. 2007) (citation and internal quotation marks omitted), "[t]he tenet that a court must accept as

true all of the allegations contained in a complaint is inapplicable to legal conclusions." Iqbal, 556

U.S. at 678. "Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice." Id.

       Prior to its relatively recent abrogation, Rule 84 of the Federal Rules of Civil Procedure

provided that form pleadings automatically satisfy the pleading requirements of Rule 8(a). In

practice, compliance with Form 18 "effectively immunize[d] a claimant from attack regarding the

sufficiency of the pleading." K-Tech Telecomms., Inc. v. Time Warner Cable, Inc., 714 F.3d 1277,

1282-85 (Fed. Cir. 2013). Form 18 pleadings in patent cases required only the following to state a

claim for direct infringement: (1) an allegation of jurisdiction; (2) a statement that the plaintiff

owns the patent; (3) a statement that defendant has been infringing the patent by making, selling,

or using the device embodying the patent; (4) a statement that the plaintiff has given [*8] the

defendant notice of its infringement; and (5) a demand for an injunction. Given the abrogation of

Rule 84, Form 18 no longer provides a safe harbor for direct infringement claims. Now, to state a

claim for direct infringement, a plaintiff must explicitly plead facts to plausibly support the



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assertion that a defendant "without authority makes, uses, offers to sell, or sells any patented

invention during the term of the patent." 35 U.S.C. § 271(a); Fed. R. Civ. P. 8(a); Bowlby, 681

F.3d at 217. The level of detail required in any given case will vary depending upon a number of

factors, including the complexity of the technology, the materiality of any given element to

practicing the asserted claim(s), and the nature of the allegedly infringing device. Bot M8 LLC v.

Sony Corporation of America, 4 F.4th 1342, 1353 (Fed. Cir. 2021)

        To state a claim for induced infringement, a plaintiff must allege facts to plausibly support

the assertion that the defendant specifically intended a third party to directly infringe the plaintiff's

patent and knew that the third party's acts constituted infringement. 35 U.S.C. § 271(b); In re Bill

of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1339 (Fed. Cir. 2012).

"The requirement that the alleged infringer knew or should have known his actions would induce

actual infringement necessarily includes the requirement that he or she knew of the patent." DSU

Med. Corp. v. JMS Co., Ltd., 471 F.3d 1293, 1304 (Fed. Cir. 2006). Knowledge of infringement

alone, however, is not enough. "Inducement requires evidence of culpable conduct, directed to

encouraging another's infringement, not merely that the inducer had knowledge of the direct

infringer's activities." Id. at 1306.

        To state a claim for contributory infringement, a plaintiff must allege facts to plausibly

support the assertion that there was (1) an act of direct infringement; (2) that the defendant knew

that the combination for which its components were especially made was both patented and

infringed; and (3) the components have no substantial non-infringing use. 35 U.S.C. § 271(c);

Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc., 424 F.3d 1293, 1312 (Fed. Cir. 2005).

III.    ARGUMENT

       A.     Plaintiff Fails to Plausibly Plead Direct Infringement for All Claims Except
for Claim 1 of the Patents-in-Suit

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       Almost all of Plaintiff’s direct infringement claims should be dismissed because Plaintiff

failed to plead any facts that would plausibly establish a direct infringement claim under 35 U.S.C.

§ 271(a). Specifically, Plaintiff’s direct infringement claims regarding Claims 2-29 of the ‘992

Patent and Claims 2-10 of the ‘777 Patent are utterly devoid of any factual allegations supporting

a plausible inference that Nuu’s “products and services” actually practice the claimed elements. In

fact, Plaintiff only asserts these Claims in passing in ¶¶ 8, 16, respectively. For example, in ¶ 8:

       “Nuu Mobile designs, manufactures, markets and sells systems and processes for

       providing user feedback from a device, that infringe one or more claims of the ‘992

       patent, including one or more of claims 1-29, literally or under the doctrine of

       equivalents. Defendant put the inventions claimed by the ‘992 Patent into service

       (i.e., used them); but for Defendant’s actions, the claimed-inventions embodiments

       involving Defendant’s products and services would never have been put into

       service. Defendant’s acts complained of herein caused those claimed-invention

       embodiments as a whole to perform, and Defendant’s procurement of monetary and

       commercial benefit from it.” (emphasis added).

A copy and paste version of the foregoing is found in ¶ 16 regarding the ‘777 Patent. These cited

paragraphs are the full extent of the mention of Claims 2-29 of the ‘992 Patent and Claims 2-10 of

the ’777 Patent in the Complaint.

       While Plaintiff does provide a chart regarding respective Claims 1 of the Patents-in-Suit,

no such chart was provided for the remaining asserted claims. Even if a detailed chart is not

required at this early pleading stage, Plaintiff has not plead any factual allegations to draw a

reasonable inference of infringement of Claims 2-29 of the ‘992 Patent and Claims 2-10 of the

’777 Patent by Nuu’s “products and services” so as to put Nuu on notice of the claims against it.



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Such assertions are merely legal conclusions of infringement and are textbook unadorned, the-

defendant-unlawfully-harmed-me accusations. As such, the direct infringement claims regarding

Claims 2-29 of the ‘992 Patent and Claims 2-10 of the ’777 Patent must be dismissed as not

plausibly plead.

       B.      Plaintiff Fails to Plausibly Plead Induced Infringement

       Plaintiff’s induced infringement claims should be dismissed because Plaintiff failed to

plead any facts that would plausibly establish several elements of an induced infringement claim

under 35 U.S.C. § 271(b). To state a claim for inducement under § 271(b), a plaintiff must plausibly

allege (1) that there is direct infringement; (2) that the accused infringer induced the infringement;

and (3) that the accused infringer knew or should have known that its actions would induce actual

infringement. Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1331 (Fed. Cir. 2010) (citing DSU, 471

F.3d at 1304). The knowledge component requires not only knowledge of the patent but also

knowledge that “the induced acts constitute patent infringement.” Commil USA, LLC v. Cisco Sys.,

Inc., 135 S. Ct. 1920, 1926 (2015) (quoting Glob.-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754,

764 (2011)). “The mere knowledge of possible infringement by others does not amount to

inducement,” rather, a plaintiff must demonstrate “specific intent and action to induce

infringement.” Cleveland Clinic Found. v. True Health Diagnostics LLC, 859 F.3d 1352, 1364

(Fed. Cir. 2017), cert. denied, 138 S. Ct. 2621 (2018). Here, Plaintiff has failed to plead sufficient

factual allegations with respect to the intent and knowledge requirements.

       Regarding the intent element, Plaintiff fails to plausibly plead facts sufficient to support a

finding of specific intent to encourage infringement. HZNP Medicines LLC v. Actavis Labs. UT,

Inc., 940 F.3d 680, 701 (Fed. Cir. 2019) (“To prove inducement, a plaintiff must present evidence

of active steps taken to encourage direct infringement; mere knowledge about a product’s



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characteristics or that it may be put to infringing uses is not enough.”) (citation omitted). The mere

recitation of conclusory claim elements is insufficient to plead inducement. Joao Control &

Monitoring Systems, LLC v. Protect America, Inc., No. 1-14-cv-00134, D.I. 74 at 9 (W.D. Tex.

Mar. 24, 2015) (dismissing claims of induced infringement where the complaint’s allegations of

induced infringement were “conclusory statements that merely mirror the elements of the cause of

action.”); see also Hypermedia Navigation LLC v. Google LLC, No. 18-CV-06137-HSG, 2019

WL 1455336, at *3 (N.D. Cal. Apr. 2, 2019) (“[T]he complaint only states bald conclusions that

an end user following YouTube instructions results in infringement. In no way does the complaint

detail how an end user would infringe Hypermedia’s patents.”). “[S]imply recit[ing] the legal

conclusion that Defendants acted with specific intent” does not plead facts permitting the court “to

reasonably infer that Defendants had the specific intent to induce infringement.” Addiction &

Detoxification Inst. L.L.C. v. Carpenter, 620 F. App’x 934, 938 (Fed. Cir. 2015).

       Here, Plaintiff conclusory states that “Nuu Mobile has actively encouraged or instructed

others (e.g., its customers and/or the customers of its related companies), and continues to do so,

on how to use its products and services (e.g., systems and processes for providing user feedback)

such as to cause infringement of one or more of claims 1–29 of the ‘992 patent, literally or under

the doctrine of equivalents.” D.I. 1 ¶ 11. A similar statement is made in ¶ 18 regarding the ’777

Patent. These naked statements contain no specific factual allegations evidencing Nuu’s specific

intent and action to induce infringement. Therefore, Plaintiff’s induced infringement claims must

be dismissed in their entirety.

       Regarding the knowledge element, Plaintiff attempts to impart knowledge of the Patents-

in-Suit on Nuu based on the Original Complaint itself. D.I. 1 ¶¶ 11, 18. However, Plaintiff’s

Complaint cannot itself give rise to, or form the basis of, a post-suit inducement claim. In fact,



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Courts have dismissed claims of induced infringement where the complaint did not allege pre-suit

knowledge and knowledge was plead solely on the basis of the complaint itself as “[s]uch

allegations are not sufficient to satisfy the pleading standard established in Iqbal and Twombly.”

Affinity Labs of Texas, LLC v. Toyota Motor North America, Inc. et al., 6-13-cv-00365, 2014 WL

2892285 at *4 (W.D. Tex. May. 12, 2014) (granting motion to dismiss claims of induced

infringement where complaint alleged that “Toyota at least has knowledge of the ’191 and ’680

patents as of the date of the Complaint” (*3) and “[t]he complaint does not express whether the

induced infringement claim is limited to patent violations that occurred after the lawsuit was filed,

or if the induced infringement claim includes Toyota’s conduct or knowledge pre-lawsuit” (*4));

see also Affinity Labs of Texas, LLC v. BlackBerry Limited et al., 6-13-cv-00362 D.I. 56, 2014 WL

12551207 (W.D. Tex. Apr. 30, 2014), Affinity Labs of Texas, LLC v. Samsung Electronics Co.,

Ltd. et al., 6-13-cv-00364 D.I. 63 (W.D. Tex. Apr. 30, 2014).

       Moreover, Courts in this District have dismissed claims of indirect infringement where the

complaint’s sole factual basis for knowledge of the asserted patent and of infringement was the

complaint itself, and the plaintiff made only generalized allegations of indirect infringement. Parus

Holdings, Inc. v. Apple, Inc. et. al., Case No. 1-19-cv-432, D.I. 107, Transcript at p. 15:13-49:19

(W.D. Tex. Jan. 31, 2020) (granting motion to dismiss indirect infringement claims and willful

infringement claims), D.I. 101 (minute entry granting motions to dismiss), D.I. 26 (motion to

dismiss).

       As discussed above, Plaintiff again relies solely on its own complaint to establish

knowledge of the asserted patents as well as knowledge of infringement, alleging that “Nuu Mobile

has known of the ‘992 patent and the technology underlying it from at least the filing date of the

lawsuit.” D.I. 1 ¶11; see also ¶18. However, like in Parus and in Affinity Labs v. Toyota, “the



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complaint is devoid of any reference of actual intent or knowledge of induced infringement on the

part of [Defendant]. Rather, Plaintiff merely relies on the existence of the complaint to satisfy the

knowing element for its induced infringement claim.” Affinity Labs v. Toyota, 2014 WL 2892285

at *4. “To the extent [plaintiff] relies on knowledge of [plaintiff’s] patent after the lawsuit was

filed, such knowledge is insufficient to plead the requisite knowledge for indirect infringement.”

Aguirre v. Powerchute Sports LLC, No. SA-10- CV-0702-XR, 2011 WL 2471299, at *3 (W.D.

Tex. June 17, 2011); see also, e.g., Xpoint Techs., Inc. v. Microsoft Corp., 730 F. Supp. 2d 349,

357 (D. Del. 2010) (“knowledge after filing of the present action is not sufficient for pleading the

requisite knowledge for indirect infringement”). Furthermore, Plaintiff provides no factual support

for, nor even an allegation of pre-suit knowledge. Consistent with Parus, the Court should

similarly dismiss Plaintiff’s induced infringement claim in this case.

       C.      Plaintiff Fails to Plausibly Plead Contributory Infringement

       Plaintiff’s contributory infringement claims should be dismissed because Plaintiff failed to

plead any facts that would plausibly establish any of the elements of a contributory infringement

claim under 35 U.S.C. § 271(c). To state a claim for inducement under § 271(c), a plaintiff must

plausibly plead (1) that there is direct infringement, (2) that the accused infringer knew that the

combination for which its components were being made was both patented and infringing, (3) that

the component has no substantial noninfringing uses, and (4) that the component is a material part

of the invention. Fujitsu, 620 F.3d at 1326 and 1330; see also Cross, 424 F.3d at 1312 ("In order

to succeed on a claim of contributory infringement, in addition to proving an act of direct

infringement, plaintiff must show that defendant knew that the combination for which its

components were especially made was both patented and infringing and that defendant's

components have no substantial non-infringing uses.") (citation and internal quotation marks



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omitted). The knowledge element requires knowledge of the existence of the patent and knowledge

that the component infringes. See Glob.-Tech, 563 U.S. 754 (2011).

       Here, Plaintiff's Original Complaint does not identify the "material or apparatus" that

contributes to the infringement of its patents. In ¶ 12, Plaintiff conclusory states that “Nuu Mobile

has actively encouraged or instructed others (e.g., its customers and/or the customers of its related

companies), and continues to do so, on how to use its products and services (e.g., systems and

processes for providing user feedback) such as to cause infringement of one or more of claims 1–

29 of the ‘992 patent, literally or under the doctrine of equivalents.” A similar statement is made

in ¶ 19 regarding the ’777 Patent. From these statements it is unclear even what the identified

material or apparatus that contributed to the infringement should be beyond Nuu’s generic

“products and services.” Moreover, actively encouraging or instructing others to infringe is not an

element of contributory infringement.

       With no contributing apparatus identified, Plaintiff cannot and does not plausibly plead the

remaining elements. Plaintiff fails to make no more than conclusory allegations that the

unspecified apparatus has no substantial noninfringing uses: “Further, there are no substantial

noninfringing uses for Defendant’s products and services.” D.I. 1, ¶¶ 12, 19. Even if the

contributing apparatus is, arguendo, the Nuu Mobile X6, the substantial noninfringing uses of a

smart phone need not be enumerated here. See Tierra Intellectual Borinquen, Inc. v. Asus Comput.

Int'l, Inc., No. 2:13-CV-44-JRG, 2014 U.S. Dist. LEXIS 38570, at *5 (E.D. Tex. Mar. 21, 2014)

(finding that a mobile phone "no doubt" had substantial noninfringing uses beyond the claimed

method for authenticating user signatures, but finding contributory infringement adequately

pleaded where the accused component was not the phone itself but "authentication methods"); see

also Billjco v. Apple Inc., No. 6:21-cv-00528-ADA, 2022 U.S. Dist. LEXIS 17605 (W.D. Tex.



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Feb. 1, 2022) (finding that an allegation that iPhones have no substantial noninfringing uses

without any support is conclusory).

       Regarding the knowledge element, Plaintiff fails to make no more than conclusory

allegations that Nuu knew that the combination for which its unspecified products and services

were being made was both patented and infringing: “Moreover, Nuu Mobile has known of the ‘992

patent and the technology underlying it from at least the filing date of the lawsuit.” D.I. 1 ¶ 12; see

also ¶ 19. This knowledge allegation is at worst nonsensical in a contributory infringement context

and at best provides no support for post suit contributory knowledge of the Patents-in-Suit nor of

any infringing acts. Furthermore, Plaintiff provides no factual support for, nor even an allegation

of pre-suit knowledge. Moreover, the conclusory no substantial noninfringing uses allegation does

not support an inference of the knowledge element. Finally, Plaintiff is wholly silent on the

material part of the invention element. For these reasons, the Court should similarly dismiss

Plaintiff’s contributory infringement claim in this case.

IV.    CONCLUSION

       For the foregoing reasons, the Court should dismiss Plaintiff’s claims for direct and indirect

infringement of the Patents-in-Suit.




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       DATED: April 6, 2022                          Respectfully submitted,
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                                                     CORPORATION



                                CERTIFICATE OF SERVICE

        I hereby certify that on the 6th day of April, 2022, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of Texas, Dallas
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.

                                              /s/ Hao Ni
                                              Hao Ni




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